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                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Abingdon Division

__________________________________________
                                          )
LANE ENGINEERING, INC.,                   )
d/b/a THE LANE GROUP INC.,                )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )                      Civil Action No. 1:19-cv-00045
                                          )
WASHINGTON COUNTY SERVICE                 )
AUTHORITY,                                )
                                          )
                  Defendant.              )
__________________________________________)

                               Notice of Voluntary Dismissal Under
                         Rule 41(a) of the Federal Rules of Civil Procedure

        Plaintiff Lane Engineering, Inc., d/b/a The Lane Group Inc. (“Lane”), hereby serves this

Notice of Dismissal pursuant to FRCP 41(a)(1)(A)(i), there having been no “answer or a motion

for summary judgment” served by Defendant Washington County Service Authority, as of the

filing of this Notice.

        Furthermore, this dismissal is with prejudice as all matters pled therein have been settled

and resolved. See FRCP 41(a)(1)(B).

        Dated: November 12, 2019

                                              Respectfully submitted,

                                              LANE ENGINEERING, INC .
                                              d/b/a/ The Lane Group Inc, a
                                              Virginia Corporation

                                              By       /s/ Wyatt B. Durrette, III
                                                             Of Counsel



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